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IN THE UNITED STATES DISTRICT COURTGSAUGH AH 8:07
FOR THE WESTERN DISTRICT OF TENNESSEE

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ELBERT MANGUM,
Piaintiff,
vs. No. 05-2363-Ml/P
JOHN E. POTTER, et al.,

Defendants.

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ORDER DENYING MOTION TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
ORDER OF PARTIAL DISMISSAL
AND
ORDER DIRECTING PLAINTIFF TO AMEND COMPLAINT

 

Plaintiff, Elbert Mangum, has filed a prp _§§ employment
discrimination complaint, along with a motion to proceed in §Qrma
pauperis under 28 U.S.C. § 1915(a) and for appointment of counsel.
Plaintiff has an annual income of approximately $44,000 and has
approximately $1,300 in cash on hand. Accordingly, the motion to
proceed in ;Q;ma pauperis is DENIED. Plaintiff is directed to pay
the $250 filing fee within twenty days of the entry of this order.
The Clerk of Court is ORDERED to file the case and to record the
Defendants as John E. Potter and Cheryl Gatewood. The Clerk shall
not issue process in this case.

With regard to the motion for appointment of counsel, two

statutes authorize the district court to request or appoint

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counsel for an indigent plaintiff. Twenty-eight U.S.C. § 1915(d)
provides that the "court may request an attorney to represent any
such person unable to employ counsel."1 Plaintiff does not qualify
as indigent under § 1915(d).

Similarly, under 42 U.S.C. § 2000e-5(f)(1), "upon application
by the complainant and in such circumstances as the court may deem
just, the court may appoint an attorney." An employment
discrimination plaintiff has no constitutional or statutory right
to appointed counsel. Moore v. Sunbeam Corp., 459 F.2d 811 (7th
Cir. 1972).

Generally, a court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 151 (E.D. Tenn.
1977). Although "no comprehensive definition of exceptional
circumstances is practical," Branch v. Cole, 686 F.2d 264, 266 (Bth
Cir. 1982), courts resolve this issue through a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986).

A review of this complaint indicates that the case is not so
complex that the Court should exercise its discretion to appoint
counsel at this time. Plaintiff appears to understand the facts

and applicable law sufficiently to represent himself. Furthermore,

 

l However, "§ 1915(d) does not authorize the federal courts to make

coercive appointments of counsel" to represent indigent civil litigants.
Mallard v. United States District Court for the Southern District of Iowa, 490
U.S. 296, 310 (1989).

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it does not appear from the affidavit supporting his motion that he
will be unable to obtain counsel on his own. The motion is DENIED.
Plaintiff filed his complaint on a form for violations under
Title Vll of the Civil Rights Act of 1964. He alleges that he
filed a charge of discrimination on July 24, 2004, and received a
notice of right to sue from the Equal Employment Opportunity
Commission (EEOC) on March 30, 2005. Plaintiff alleges that
Defendant Gatewood changed his sick leave to leave without pay in
retaliation for prior EEO activity. To demonstrate a prima facie
case of reprisal, plaintiff must show that:
1}he was engaged in an activity protected by Title VII;
2) that the exercise of his civil rights was known by the
defendant; 3) that, thereafter, the defendant took any
employment action adverse to the Plaintiff; and 4) that
there was a causal connection between the protected

activity and the adverse employment action.

Harrison v. Metro. Gov't of Nashville, 80 F. 3d 1107, 1118 (6th

Cir. 1996). The allegations of the complaint are insufficient to
demonstrate a prima facie case of reprisal. Additionally,

Plaintiff did not attach a copy of the charge of discrimination or
the notice of right to sue.

Mangum has named Cheryl Gatewood as a Defendant. The only
proper defendant in an employment discrimination lawsuit by an
employee of a federal agency is the person who is the head of that
agency. See, e.g., Hancock v. Egger, 848 F.Zd 87, 89 (6th Cir.
1988); Golvar v. McCausland, 738 F. Supp. 1090, 1095 (W.D. Mich.

1990). Accordingly, Plaintiff has no claim against Gatewood.

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Any claims against Cheryl Gatewood lack an arguable basis
either in law or in fact and are, therefore, DISMISSED as
frivolous. See Denton v. Hernandez, 504 U.S. 25, 31 (1992);
Neitzke v. Williams, 490 U.S. 319, 325 (1989).

lnsofar as Plaintiff is suing under the federal equal
employment laws, exhaustion of administrative remedies is a
prerequisite to the filing of his employment discrimination case.
See generally Zipes v. Trans World Airlines, 455 U.S. 385, 393
{1982); Williams, 983 F.2d at 180; Parsons v. Yellow Freiqht Svs.,
lppp, 141 F.Zd 811 (6th Cir. 1984). Plaintiff has not attached any
exhibits to his complaint which demonstrate that he has exhausted
his remedies on his claim of reprisal.

Plaintiff has at this point failed to state a cause of action
that would warrant an service of his complaint. He is therefore
directed to amend his complaint with additional allegations
sufficient to demonstrate a p;imp fgpie case of reprisal and to
submit exhibits which show he has exhausted his administrative
remedies and filed this complaint after receiving a final agency
decision. The Plaintiff must personally sign the amended
complaint.

Plaintiff must file an amended complaint within twenty (20)
days of the docketing of this order. Plaintiff must also pay the
$250 filing fee within twenty (20) days of the docketing of this

order. A failure to timely comply with any requirement of this

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order will result in the dismissal of any claim for which the

Plaintiff fails to respond or of the complaint in its entirety.

lT lS SO ORDERED this f(] day Of AuguSt, 2005.

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JO PHIPPS MCCALLA
U TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02363 Was distributed by fax, mail, or direct printing on
August 1], 2005 to the parties listed.

 

Elbert Mangum
3531 Big Bend
l\/lemphis7 TN 38116

Honorable J on McCalla
US DISTRICT COURT

